Case 2:24-cv-04055-JXN-LDW                              Document 197                   Filed 11/07/24               Page 1 of 1 PageID:
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November 7, 2024

VIA ECF
Hon. Leda Dunn Wettre, U.S.M.J.
United States District Court
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

          Re:         United States v. Apple Inc., Case No. 2:24-cv-04055 (JXN-LDW)

Dear Judge Wettre:

         This firm represents nonparty Capital One Financial Corporation (“Capital One”) in the
above-referenced matter. Pursuant to Local Civil Rule 101.1(c), Capital One submits this
informal application for the pro hac vice admission of Amelia Rasmussen of the law firm A&O
Shearman in this matter. Plaintiffs and Defendant have consented to her pro hac vice admission
in this litigation.

          In support of the application, enclosed please find the following:

                     Certification of Amelia Rasmussen;
                     Certification of Maureen T. Coghlan in support of the application for pro hac vice
                      admission; and
                     Proposed Consent Order Granting pro hac vice admission.

        Should the enclosed proposed form of Order meet with Your Honor’s approval, we
respectfully request that it be entered. If Your Honor has any questions regarding this matter,
please do not hesitate to contact us.

                                                                                  Respectfully submitted,

                                                                                  s/Maureen T. Coghlan
                                                                                  Maureen T. Coghlan


cc:       All counsel of record (via ECF)



 Voorhees, NJ | Hackensack, NJ | Princeton, NJ | Philadelphia, PA | Harrisburg, PA | Red Bank, NJ | New York, NY | Wilmington, DE | Houston, TX
